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                      THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

   BRIAN GARRETT, et al.,                              )
                                                       )     Case No. 2:18-cv-00692
                   Plaintiffs,                         )
                                                       )     Judge Michael H. Watson
   v.                                                  )
                                                       )     Chief Magistrate Judge Elizabeth P.
   THE OHIO STATE UNIVERSITY,                          )     Deavers
                                                       )
                   Defendant.                          )
                                                       )
                                                       )
   STEVE SNYDER-HILL, et al.,                          )
                                                       )     Case No. 2:18-cv-00736
                   Plaintiffs,                         )
                                                       )     Judge Michael H. Watson
   v.                                                  )
                                                       )     Chief Magistrate Judge Elizabeth P.
   THE OHIO STATE UNIVERSITY,                          )     Deavers
                                                       )
                   Defendant.                          )
                                                       )


                           MOTION FOR STATUS CONFERENCE

        Plaintiffs in the above-referenced cases of Snyder-Hill, et al. v. The Ohio State University,
number 2:18-cv-00736, and Garrett, et al. v. The Ohio State University, number 2:18-cv-00692,
hereby request that the Court schedule a telephonic status conference at the earliest practical
time. The purpose of the requested conference is to discuss the timeline and procedure for
release of the Perkins Coie investigative report in light of the pending motion regarding records
from the State Medical Board of Ohio, the mediation scheduled for July 10-11, 2019, and the
pre-mediation submissions due June 20, 2019.

        1. Plaintiffs have long awaited the report from Perkins Coie, the firm retained by Ohio
           State University’s special counsel (Porter Wright Morris & Arthur LLP) to
           investigate allegations of sexual misconduct against Dr. Richard Strauss.
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           2. In November 2018, Defendant announced that Perkins Coie’s investigation was
               “nearing the end.” 1 In early March 2019, OSU’s President expected the investigation
               to end in “six to eight weeks,” i.e., by May 1, 2019. 2 As of today’s date, it is unclear
               whether Perkins Coie has completed the report.

           3. On May 1, 2019, OSU moved for an Order permitting the public release of portions
               of the Perkins Coie report, including “information retrieved from files obtained from
               the State Medical Board of Ohio.” That motion is sub judice.

           4. Plaintiffs do not know whether Perkins Coie has completed its report, whether OSU’s
               attorneys at Porter Wright Morris & Arthur LLP and/or Carpenter Lipps and Leland
               have seen the report, or what the timeline and process will be for dissemination of the
               report to the public and the parties in the above-captioned actions.

           5. Yesterday, Judge Michael Barrett scheduled a mediation for July 10-11, 2019 and
               requested ex parte pre-mediation submissions by June 20, 2019.

           6. Given the upcoming mediation deadlines and the potential relevance of the report to
               the mediation process, Plaintiffs respectfully request a telephonic court conference to
               discuss the timeline and process for release of the Perkins Coie report.

           7. Plaintiffs have conferred with Defendant. Defendant stated it does not join in the
               request but has not stated whether or not it opposes the request.




1
    See https://news.osu.edu/perkins-coie-team-updates-trustees-on-strauss-investigation/
2
    See https://www.thelantern.com/2019/03/drake-expects-strauss-investigation-to-conclude-in-six-to-eight-weeks/.
                                                          2
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DATED: May 9, 2019                     EMERY CELLI BRINCKERHOFF
                                        & ABADY LLP

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                                                2:18-cv-00692


                               CERTIFICATE OF SERVICE

       A copy of this document was served by the Court’s ECF System on all counsel of record

on May 9, 2019, pursuant to Fed. R. Civ. P. 5(b)(2)(E).


                                                   /s/ Ilann M. Maazel____
                                                       Ilann M. Maazel




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